Case 2:21-bk-16674-ER       Doc 227 Filed 05/18/22 Entered 05/18/22 09:16:00                    Desc
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                                                                     FILED & ENTERED

                                                                           MAY 18 2022

                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:    Jinzheng Group (USA) LLC,              Case No.: 2:21-bk-16674-ER
           Debtor.                                Chapter: 11
                                                  ORDER DENYING DEBTOR’S MOTION
                                                  TO DISBAND OFFICIAL COMMITTEE
                                                  OF UNSECURED CREDITORS
                                                  [RELATES TO DOC. NO. 135]

                                                  Date:       May 17, 2022
                                                  Time:       10:00 a.m.
                                                  Location:   Courtroom 1568
                                                              Roybal Federal Building
                                                              255 East Temple Street
                                                              Los Angeles, CA 90012

   At the above-captioned date and time, the Court conducted a hearing on the Motion to
Change Membership and Disband Official Committee of Unsecured Creditors Pursuant to 11
U.S.C. §§ 1102(a)(4) and 105(a) [Doc. No. 135] (the “Disbandment Motion”) filed by the
Debtor. Good cause appearing therefor, the Court HEREBY ORDERS AS FOLLOWS:

   1) The tentative ruling [Doc. No. 223] is adopted as the final ruling (the “Ruling”) and is
      incorporated herein by reference. The findings supporting the entry of this Order are set
      forth in the Ruling.
   2) The Disbandment Motion is DENIED.
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   IT IS SO ORDERED.
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    Date: May 18, 2022
